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From: Hollins, Chris (CCO) <Chris.Hollins@cco.hctx.net>
Sent: Sunday, November 1, 2020 9:52 AM
To: Alan Vera <alanv@tqba.com>; Winn, Michael (CCO) <Michael.Winn@cco.hctx.net>; Ray, Douglas
(CAO) <Douglas.Ray@cao.hctx.net>
Cc: Joe Esparza <JEsparza@sos.texas.gov>; Keith Ingram <KIngram@sos.texas.gov>
Subject: RE: Re-counting of DTV E-slates

Alan,

All eSlates and JBCs throughout all of Harris County were secured each night.

There was a 1:1 ratio of eSlates and JBCs at drive-thru voting centers.

All JBCs and MBBs used in this election will be preserved in compliance with Texas law.

All issues regarding stranded votes have been addressed. Of the 1.4 million votes cast, there are roughly
twenty votes total that needed to be addressed. This is typical. Mr. Winn has connected directly with
Director Ingram on this matter and confirmed that the way in which the stranded votes were recovered
was done properly.

I will speak to EVBB today about any further action. I believe the timing of your request should be fine,
but will need to confirm.

Thank you,

Chris


From: Alan Vera <alanv@tqba.com>
Sent: Sunday, November 1, 2020 9:03 AM
To: Winn, Michael (CCO) <Michael.Winn@cco.hctx.net>; Ray, Douglas (CAO)
<Douglas.Ray@cao.hctx.net>; Hollins, Chris (CCO) <Chris.Hollins@cco.hctx.net>
Cc: Josh Helton <josh@threestarstrategies.com>; Sonya Aston <saston@texasgop.org>; Eric Opiela
<eopiela@ericopiela.com>; Joe Esparza <JEsparza@sos.texas.gov>; Keith Ingram
<KIngram@sos.texas.gov>; Mano DeAyala <deayala@buckkeenan.com>;
rptelectionintegrity@gmail.com
Subject: Re-counting of DTV E-slates
Importance: High

Mr. Winn:

We have knowledge that in Harris County, apparently, the voting booth (eSlate) was not connected back
to the JBC after every vote was cast on the eSlate in the drive through locations. Presumably, this
activity resulted in not all of the votes being captured on the JBC associated with each eSlate. Please
confirm this report.

We also understand that there was one eSlate for each JBC machine at the drive through
locations. Please confirm.
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We are very concerned about the accurate counting of all of the votes and the documentation that all of
the votes from the eSlate machines have been handled through a quarantine process and that the
medium you used to capture the votes yesterday was set to zero. Please confirm.

You have offered to re-download all of the votes from the drive-through in the presence of the Central
Count personnel. Please do perform that task of re-entering the votes from those machines in the
presence of Central Count personnel and poll watchers before noon on Monday 11-2-20. Please also
allow Central Count to confirm that the medium into which the information is downloaded into is set to
zero. Please confirm.

Upon completion, we request that all of the JBCs and eSlates used at the drive through locations be
quarantined until the end of this calendar year, until this matter is resolved. Please confirm.

Please also provide any documentation confirming and/or denying that these e-slates during the 3-week
period of early voting were secured overnight, every night for the entirety of the voting period.

Thank you for your cooperation in this very important matter to add transparency to the process.

Regards,

Alan D. Vera
Chairman, HCRP Ballot Security Committee
President/CEO
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